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     Attorney for Defendant:
 5   ANDREA NEAL PICKRELL

 6
                                 IN THE UNITED STATES DISTRICT COURT
 7
                        IN AND FOR THE NORTHERN DISTRICT OF CALIFORNIA
 8
                                          SAN FRANCISCO DIVISION
 9
10
     UNITED STATES OF AMERICA,           )                 No. CR-04-00407-MMC
11                                       )
                 Plaintiff,              )                 STIPULATION AND [PROPOSED]
12                                       )                 ORDER CONTINUING SENTENCING
                 vs.                     )                 HEARING FROM SEPTEMBER 27,
13                                       )                 2006 TO DECEMBER 13, 2006 AND
     ANDREA NEAL PICKRELL, et. al,       )                 EXCLUDING TIME UNDER THE
14                                       )                 SPEEDY TRIAL ACT
                 Defendants.             )
15   ____________________________________)

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            The parties appeared before the Court on May 17, 2006 for a change of plea. At that time, the
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     Court set the date for judgment and sentencing to September 27, 2006. Due to an unforeseen family
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     emergency concerning a gravely ill parent, Ms. Pickrell's counsel was not available to attend the
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     probation interview or otherwise properly prepare for the sentencing hearing.
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            The parties therefore stipulate and request the Court to continue the sentencing date from
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     September 27, 2006 to December 13, 2006, in order to provide the necessary time for the probation
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     officer, Ann Searles, to conduct her interview and for the parties to complete their sentencing
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     memoranda and preparation for hearing in an orderly fashion. Given the need to conduct the probation
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     interview and the preparation of sentencing memoranda, the parties stipulate that the time from
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     September 27, 2006 to December 13, 2006 is properly excludable for effective preparation and
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     continuity of counsel.
27
28
     DEFENDANT PICKRELL'S JOINDER IN
     MOTION TO SUPPRESS WIRETAP EVIDENCE
     No. CR-04-00407-MMC
                     Case 3:04-cr-00407-MMC                                         Document 79   Filed 09/25/06     Page 2 of 2



 1   IT IS SO STIPULATED.

 2   DATED: ________________________
 3                                                                                           /s/
                                                                                             DAVE HALL
 4                                                                                           Assistant United States Attorney

 5   DATED: _____________________
                                                                                             /s/
 6                                                                                           GERI LYNN GREEN
                                                                                             Attorney for Andrea Pickrell
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 8
     IT IS SO ORDERED. The sentencing hearing will be continued from September 27, 2006
 9
     to December 13, 2006 at 2:30 p.m. For the reasons set forth above, the time is excludable from
10
     the Speedy Trial Act on the grounds of effective preparation and continuity of counsel.
11
             September 25, 2006
     DATED:_____________________
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                                                                                             ________________________________
13                                                                                           THE HON. MAXINE M. CHESNEY
                                                                                             United States Chief District Judge
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     DEFENDANT PICKRELL'S JOINDER IN
     MOTION TO SUPPRESS WIRETAP EVIDENCE
     No. CR-04-00407-MMC
